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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

ADA YEAGER, an individual,
Case No.: 2:20-cv-01813 RAJ

Plaintiff,

Vv. DECLARATION OF BRADEN PENCE

THE CITY OF SEATTLE, a municipal
corporation,

 

Defendant.

 

 

 

DECLARATION
I, Braden Pence, am over the age of 18, and am competent to testify in court. My

pronouns are he/him. I make the following declaration upon information and belief, that the
following is true and correct to the best of my knowledge.

1. lam the attorney for the Plaintiff in this matter.

2. Today, KUOW broadcast a radio interview with Defendant City’s chief agent, Mayor
Jenny Durkan, regarding the subject matter of this action.

3. During the interview, Mayor Durkan stated that Defendant City will not raid any

other encampments around Seattle other than the Cal Anderson encampment, which

she called “a political occupation.” '

 

' The interview should be available shortly at this link: https://kuow.org/podcasts/the-record.

s MAZZONE LAW FIRM, PLLC
Yeager v. City of Seattle, Case No. 3002 COLBY AVENUE, SUITE 302

DECLARATION OF BRADEN PENCE - Page | EVERETT, WA 98201
PHONE 425-259-4989 FAX 425-259-5994

 
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4. Attached to this Declaration is a true and correct email chain, which I just received,
originally sent by another agent of Defendant City, Laurie Dunlap who works in the
Superintendent’s Office of Seattle Parks and Recreation. In the email, Dunlap writes:

At parks other than Cal Anderson, the City's moratorium on

encampment removal continues, in order to allow those who are
unhoused to shelter in place.

5. These statements individually and taken together are further evidence of Plaintiff’ s
contention that Defendant City has singled out Plaintiff's encampment for
enforcement and that the threatened raid is anything but content-neutral regulation of
political activity.

6. Plaintiff continues pursuing long-term housing.

7. Plaintiff's property remains at the protest encampment at Cal Anderson park.

I certify and declare under penalty of perjury under the laws of the State of Washington that the
foregoing is true and correct.

Signed at Everett, Washington this 17" day of December, 2020.

5/Braden Pence
Braden Pence, WSBA 43495

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CERTIFICATE OF SERVICE
I hereby certify that on the December 17, 2020, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which will send notification of such filing to the
attorney(s) and persons of record. I hereby certify that I have served all non CM/ECF

participants via United States Postal Service.

s/ Elizabeth Crafton

Elizabeth Crafton

Paralegal

Mazzone Law Firm, PLLC
3002Colby Avenue, Suite 302
Everett, WA 98201
425-259-4989 (voice)
425-259-5994 (fax)

lize @ mazzonelaw.com

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Fw: END THE SWEEPS

Braden Pence <Bradenp@mazzonelaw.com>
Thu 12/17/2020 2:08 PM

To: Braden Pence <Bradenp@mazzonelaw.com>

Begin forwarded message:

From: PKS Info <PKS Info@seattle.gov>
Subject: RE: END THE SWEEPS

Date: December 14, 2020 at 4:11:50 PM PST

To: Cloie Chapman <cloiechapman@hotmail.com>, LEG_CouncilMembers
<council@seattle.gov>, “Herbold, Lisa” <Lisa.Herbold@seattle.gov>,
“Morales, Tammy" <Tammy.Morales@seattle.gov>, "Sawant, Kshama"
<Kshama.Sawant@seattle.gov>, “Pedersen, Alex’
<Alex.Pedersen@seattle.gov>, “Juarez, Debora"

<DeboraJuarez@seattle.gov>, “Strauss, Dan" <Dan.Strauss@seattle.gov>,
“Lewis, Andrew" <Andrew.Lewis@seattle.gov>, "Mosqueda, Teresa"

<Jeresa.Mosqueda@seattle.gov>, “Gonzalez, Lorena"
«Lorena.Gonzalez@seattle.gov>, "kcexec@kingcounty.gov"
«kcexec@kingcounty.gov>, ‘Durkan, Jenny” <Jenny.Durkan@seattle.gov>,
“Johnson, Jason" <JasonJohnson@seattle.gov>, “Acosta, Rachel"

«Rachel. Acosta@seattle.gov >

December 14, 2020
Cloie, hello.

In recent days, additional protestors have moved to Cal Anderson to occupy
the park similar to occupation of the shelter house earlier this year. Recent
regular Seattle Parks and Recreation maintenance efforts have been met with
threats of physical violence, which is why Seattle Parks and Recreation has
requested the assistance of Seattle Police to ensure the safety of park
maintenance staff and other City employees. In preparation for reopening the
park soon, Seattle Parks and Recreation has created a plan for a multiday
intensive maintenance and cleaning project.

We are providing those residing within the park notice of the work that will
happen in the coming days, and a notice that they will need to vacate.

There are some individuals living unsheltered at Cal Anderson, so the City has
deployed mobile health providers and multiple City-contracted outreach
workers have been on site to provide support for unsheltered adults, youth,
and individuals in crisis. The City’s goal is to bring those individuals inside into
a safer space, and the City’s outreach partners are offering unsheltered
individuals a shelter bed, sheltering resources, or temporary assistance. The
City contracts with homeless outreach organizations to work with unhoused
individuals across the city, to help them meet basic needs and to get them
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into a safer housing situation. This outreach by providers such as REACH,
LEAD, DESC, and YouthCare has been ongoing at Cal Anderson Park and in the
surrounding neighborhood, in coordination with the Human Services
Department's HOPE Team. Public Health-Seattle & King County's Mobile
Medical program was on site on December 10, providing medical services.

For those who are unhoused who were camping in or around the park,
outreach to offer shelter will continue to those in need.

At parks other than Cal Anderson, the City's moratorium on encampment
removal continues, in order to allow those who are unhoused to shelter in
place. Seattle Parks and Recreation continues to collect trash at unauthorized
encampments in parks as well as carrying out routine trash collection and
litter pickup in parks.

Thank you for reaching out with your concern.

Sincerely,
Laurie Dunlap
Superintendent's Office, Seattle Parks and Recreation

www.seattle.gov/parks

From: Cloie Chapman <cloiechapman@hotmail.com>

Sent: Monday, December 14, 2020 1:06 PM

To: LEG_CouncilMembers <council@seattle.gov>; Herbold, Lisa
<Lisa.Herbold @seattle.gov>; Morales, Tammy

<Tammy.Morales @seattle.gov>; Sawant, Kshama
<Kshama.Sawant@seattle.gov>; Pedersen, Alex <Alex.Pedersen@seattle.gov>;
Juarez, Debora <DeboraJuarez@seattle.gov>; Strauss, Dan
<Dan.Strauss@seattle.gov>; Lewis, Andrew <Andrew.Lewis@seattle.gov>;
Mosqueda, Teresa <Teresa.Mosqueda@seattle.gov>; Gonzalez, Lorena
<Lorena.Gonzalez@seattle.gov>; kcexec@kingcounty.gov; Durkan, Jenny
<Jenny.Durkan@seattle.gov>; Johnson, Jason <JasonJohnson@seattle.gov>;
Acosta, Rachel <Rachel.Acosta@seattle.gov>; PKS _Info
<PKS_Info@seattle.gov>

Subject: END THE SWEEPS

Hello —

You have either explicitly authorized or failed to prevent the impending
sweeps of encampments. You've done this in the middle of a year long global
pandemic, at the start of winter. As temperatures drop, you want to force
people into more vulnerability.

At the same time, you've done absolutely nothing to create a safety net for
people. You have shirked every responsibility you hold as a government
official. You have neglected your constituents, people who likely voted you
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into office because you conned them into believing you would do something
to make this city and county better.

These sweeps are the definition of cruel. People are living in the parks and on
the streets because you have failed them. It's not because they made mistakes
in their life, it's because you did.

| urge you to end the sweeps, and to stop the Seattle Police Department's
pattern of harassing the individuals they are supposed to protect. This
practice is inhumane and your constituents have made it clear that we don't
need this. Many of us would rather see our taxes being spent on supporting
folks, not kicking them out in the cold and leaving them to die. For all of the
lives lost to exposure, that blood is on your hands.

Respond to your constituents concerns. Act like you give a damn. Otherwise,
the community will respond and ensure that none of you have jobs by this
time next year.

Cloie M. Chapman
Attorney
